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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,                      :    CRIMINAL NO. 21-116 DLF
                                                :
                    Plaintiff,                  :    VIOLATION:
                                                :
             v.                                 :    18 U.S.C. § 1752(a)(1)
                                                :    (Entering and Remaining in a Restricted
 VERDEN ANDREW NALLEY,                          :    Building or Grounds)
                                                :
                    Defendant.                  :

                                    INFORMATION

       The United States Attorney charges that:


       On or about January 6, 2021, in the District of Columbia, VERDEN ANDREW

NALLEY, did unlawfully and knowingly enter and remain in a restricted building and grounds,

that is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol

and its grounds, where the Vice President was temporarily visiting, without lawful authority to do

so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))

       Date: December 2, 2021
                                             Respectfully submitted,
                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY

                                     By:      s/ Jennifer M. Rozzoni
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